Case 4:19-cv-07123-PJH   Document 373-9   Filed 09/03/24   Page 1 of 28




             EXHIBIT H
     Case 4:19-cv-07123-PJH               Document 373-9                  Filed 09/03/24   Page 2 of 28



1      Greg D. Andres
       Antonio J. Perez-Marques
2      Craig T. Cagney
        (admitted pro hac vice)
3
       DAVIS POLK & WARDWELL LLP
4      450 Lexington Avenue
       New York, New York 10017
5      Telephone: (212) 450-4000
       Facsimile: (212) 701-5800
6      Email: greg.andres@davispolk.com
                antonio.perez@davispolk.com
7
                craig.cagney@davispolk.com
8
       Micah G. Block (SBN 270712)
9      DAVIS POLK & WARDWELL LLP
       1600 El Camino Real
10     Menlo Park, California 94025
       Telephone: (650) 752-2000
11     Facsimile: (650) 752-2111
12     Email: micah.block@davispolk.com

13    Attorneys for Plaintiffs WhatsApp LLC and
      Meta Platforms, Inc.
14

15                                       UNITED STATES DISTRICT COURT
16
                               FOR THE NORTHERN DISTRICT OF CALIFORNIA
17
                                                   OAKLAND DIVISION
18
        WHATSAPP LLC, a Delaware corporation,                         )
19      and META PLATFORMS, INC., a Delaware                          )     Case No. 4:19-cv-07123-PJH
20      corporation,                                                  )
                         Plaintiffs,                                  )     PLAINTIFFS’ RESPONSES AND
21                                                                    )     OBJECTIONS TO DEFENDANTS NSO
                  v.                                                  )     GROUP TECHNOLOGIES LIMITED &
22                                                                    )     Q CYBER TECHNOLOGIES
                                                                            LIMITED’S FOURTH SET OF
        NSO GROUP TECHNOLOGIES LTD. and                               )     REQUESTS FOR PRODUCTION OF
23
        Q CYBER TECHNOLOGIES LTD.,                                    )     DOCUMENTS
24                                                                    )
                                    Defendants.                       )
25                                                                    )
                                                                      )
26

27

28
                                                                  1
      PLAINTIFFS’ R&OS TO FOURTH SET OF REQUESTS FOR PRODUCTION
      CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH               Document 373-9              Filed 09/03/24   Page 3 of 28



1              Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, and Civil Local Rule

2     34 of the Local Rules of Practice in Civil Proceedings before the United States District Court for

3     the Northern District of California, Plaintiffs WhatsApp LLC and Meta Platforms, Inc. (collec-

4     tively, “Plaintiffs”), by and through their attorneys, hereby respond and object as follows to the

5     Fourth Set of Requests for Production of Defendants NSO Group Technologies Limited and Q

6     Cyber Technologies Limited (collectively, “NSO” or “Defendants”) dated April 22, 2024 (each a

7     “Request,” and collectively, the “Requests”) in the above-captioned action (the “Action”).

8              Each response is made only for the purpose of this Action and for no other purpose. Plain-

9     tiffs’ Responses and Objections are made without in any way waiving or intending to waive (i)

10    any objections, including, without limitation, as to the competency, relevancy, materiality, propri-

11    ety, privilege, or admissibility as evidence, for any purpose, of any documents or communications

12    produced in response to the Requests and (ii) the right to object on any ground to the use of any

13    documents or communications produced in response to the Requests at any proceedings, hearings,

14    arbitration, or trial. All evidentiary objections and grounds are expressly reserved.

15             Plaintiffs’ Responses and Objections, and any production of documents or communications

16    in response to the Requests, do not waive or intend to waive (and on the contrary, reserves and

17    intends to reserve) any objections available to them, nor do Plaintiffs accept, adopt, or concede the

18    truth or validity of any characterization made in the Requests. Moreover, no objection or limita-

19    tion, or lack thereof, made in these Responses and Objections shall be deemed an admission by

20    Plaintiffs that (i) any particular evidence exists, or is relevant, probative, nonprivileged, or admis-

21    sible in evidence; or (ii) any statement or characterization in the Requests is accurate or complete.

22             A statement that Plaintiffs will produce information or documents in response to a partic-

23    ular Request is not to be construed as an admission that any responsive information or documents

24    now exist or previously existed, or that any such information or documents are within Plaintiffs’

25    possession, custody, or control.

26

27

28
                                                                  2
      PLAINTIFFS’ R&OS TO FOURTH SET OF REQUESTS FOR PRODUCTION
      CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH               Document 373-9              Filed 09/03/24   Page 4 of 28



1              The service of these Responses and Objections should not be construed as a waiver of any

2     right, including but not limited to, the right to assert additional objections to individual Requests

3     or to supplement or amend them as discovery and fact development progresses.

4              Subject to and without waiving any of the following objections, counsel for Plaintiffs is

5     available to meet in good faith with NSO concerning the Requests and these Responses and Ob-

6     jections.

7                                               GENERAL OBJECTIONS

8              The following General Objections form a part of, and are hereby incorporated into, the

9     response to each and every Request as set forth below. Nothing in the Responses and Objections

10    to the Requests should be construed as a waiver of these General Objections. Not listing an ob-

11    jection herein does not constitute a waiver of that objection or otherwise preclude Plaintiffs from

12    raising that objection later. Plaintiffs’ failure to object to a Request, or any future agreement to

13    produce responsive documents, is not a representation that any such documents exist or are within

14    Plaintiffs’ possession, custody, or control. Any future production pursuant to the Requests or oth-

15    erwise is not to be construed as an admission that any Request is proper.

16             1.       Plaintiffs object to the Requests and to each Definition, Instruction, and specific

17    Request contained therein to the extent that they purport to impose obligations on Plaintiffs that

18    are broader than and/or inconsistent with those required by the Federal Rules of Civil Procedure,

19    the Local Rules of the Northern District of California, the Stipulated Protective Order (ECF No.

20    132), or any other applicable law, rule, or court order (together, the “Applicable Rules”). Plaintiffs

21    will withhold all documents in response to the Requests that they have no obligation to produce

22    under any such applicable law, rule, or court order.

23             2.       Plaintiffs object to those portions of the Requests that are vague, ambiguous, unduly

24    broad, overly burdensome, oppressive, capable of multiple interpretations, do not identify with

25    particularity the documents sought, lack sufficient precision to allow Plaintiffs to formulate an

26    appropriate response, irrelevant to a party’s claim or defense, or not proportionate to the needs of

27    the case.

28
                                                                  3
      PLAINTIFFS’ R&OS TO FOURTH SET OF REQUESTS FOR PRODUCTION
      CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH               Document 373-9              Filed 09/03/24   Page 5 of 28



1              3.       Plaintiffs object to any Request seeking “any” or “all” documents or communica-

2     tions on the grounds that it is unduly broad and overly burdensome and to the extent it attempts to

3     impose obligations beyond those imposed by the Applicable Rules. Plaintiffs cannot guarantee

4     that they will have located every single document responsive to a particular Request. Subject to

5     the General Objections and any qualifications below, Plaintiffs may respond to any Request seek-

6     ing “any” or “all” documents by producing the responsive, nonprivileged documents within their

7     possession, custody, and control that can be located after a reasonable search conducted in good

8     faith, employing search parameters (including relevant custodians and the relevant time period)

9     for the collection and production of Plaintiffs’ documents as defined in Plaintiffs’ November 12,

10    2023 letter (the “Search Parameters”).

11             4.       Plaintiffs object to the Requests to the extent that they are duplicative or seek doc-

12    uments or communications not within Plaintiffs’ possession, custody, or control. By responding

13    to the Requests, Plaintiffs do not concede that any category of documents or communications that

14    the Requests seek does in fact exist or that such materials are in the possession, custody, or control

15    of Plaintiffs.

16             5.       Plaintiffs object to the Requests to the extent they seek documents or communica-

17    tions prepared in anticipation of litigation, or protected from disclosure by the attorney-client priv-

18    ilege, the attorney work-product immunity, the joint-defense privilege, common-interest doctrine,

19    applicable data privacy laws, regulations, policies, or rules of any jurisdiction, or any other privi-

20    lege, rule of confidentiality, or protection from disclosure provided by law. Plaintiffs will withhold

21    all privileged or otherwise protected documents or communications in response to the Requests.

22    Any production of privileged or otherwise protected documents or communications would be in-

23    advertent and would not constitute a waiver of any claim or privilege or other exemption from

24    production. Plaintiffs reserve the right to obtain the return of such documents or communications

25    and prohibit their use in any manner, and hereby request the return of any such inadvertently pro-

26    duced privileged documents or communications and reserve the right to object to the disclosure or

27

28
                                                                  4
      PLAINTIFFS’ R&OS TO FOURTH SET OF REQUESTS FOR PRODUCTION
      CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH               Document 373-9              Filed 09/03/24   Page 6 of 28



1     use of such privileged documents or communications at any stage of these or any other proceedings

2     pursuant to § 13 of the Stipulated Protective Order (ECF No. 132).

3              6.       Plaintiffs object to the Requests to the extent that they seek disclosure of documents

4     or communications as to which Plaintiffs owe a duty of nondisclosure to a third party, or the pro-

5     duction of which would result in the violation of any contractual obligation to a third party.

6              7.       Plaintiffs object to the Requests and to each Definition, Instruction, and specific

7     Request contained therein to the extent that they seek the production of non-public, proprietary, or

8     other confidential or highly confidential information—including business, commercial, financial,

9     personal, consumer, customer, client, private, commercially/competitively sensitive, regulatory,

10    and/or trade secret information—of Plaintiffs or third parties. Plaintiffs will designate such infor-

11    mation as either “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES

12    ONLY” consistent with § 5.2 of the Stipulated Protective Order (ECF No. 132).

13             8.       Plaintiffs object to the Requests to the extent they request documents or communi-

14    cations otherwise available to NSO in the public domain, or from some other source that is more

15    convenient, less burdensome, or less expensive.

16             9.       Plaintiffs object to the Requests to the extent they seek documents or communica-

17    tions already in the possession, custody or control of NSO, or call for duplicative documents or

18    communications.

19             10.      Plaintiffs object to the Requests and to each Definition, Instruction, and specific

20    Request contained therein to the extent that they purport to impose an obligation to preserve and/or

21    produce any information or documents that are newly created or received after the receipt of the

22    Requests, because efforts to preserve and/or produce such documents or information would be

23    unduly burdensome and require unreasonable expense.

24             11.      With respect to the Definitions and Instructions in the Requests, Plaintiffs object to

25    the extent that they purport to define those terms differently from how those terms are defined by

26    the Applicable Rules; depart from the customary meaning of any term or provide definitions that

27    are inaccurate; or are based on premises that are misleading, inaccurate, or incomplete.

28
                                                                  5
      PLAINTIFFS’ R&OS TO FOURTH SET OF REQUESTS FOR PRODUCTION
      CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH               Document 373-9              Filed 09/03/24   Page 7 of 28



 1                                       OBJECTIONS TO INSTRUCTIONS

 2             1.       Plaintiffs object to Instruction No. 1, and to any Request seeking “all” documents

 3    in their possession, custody, or control, on the grounds that Plaintiffs cannot guarantee that they
 4
      have located every single document responsive to a particular Request. Plaintiffs further object to
 5
      Instruction No. 1 as vague, ambiguous, unduly broad, and overly burdensome to the extent it calls
 6
      for responses to Requests to be from any “affiliates, agents, attorneys, consultants, investigators,
 7
      or other persons acting on” Plaintiffs’ behalf regardless of whether searching such entities is rea-
 8
 9    sonable or overly burdensome.

10             2.       Plaintiffs object to Instruction No. 2 to the extent that it seeks production of docu-
11 ments or communications prepared in anticipation of litigation, or protected from disclosure by the

12
     attorney-client privilege, the attorney work-product immunity, the joint-defense privilege, com-
13
     mon-interest doctrine, applicable data privacy laws, regulations, policies, or rules of any jurisdic-
14
     tion, or any other privilege, rule of confidentiality, or protection from disclosure provided by law.
15

16             3.       Plaintiffs object to Instruction No. 4 as unduly broad and overly burdensome to the

17 extent it requires Plaintiffs to include on a privilege log materials other than those materials identi-

18 fied after a reasonable search conducted in good faith employing the Search Parameters.

19                                         OBJECTIONS TO DEFINITIONS

20             1.       Plaintiffs object to the definition of “all” and “any,” and to any Request incorporat-

21    ing that definition, insofar as it is ambiguous, overly broad, and unduly burdensome and to the

22    extent it seeks to impose obligations on Plaintiffs beyond, or inconsistent with, the Applicable

23    Rules and to the extent it seeks communications or documents that are not relevant to any claims

24    or defenses in this Action or proportionate to the needs of the case. Subject to the General Objec-

25    tions and any qualifications below, Plaintiffs will respond to any Request seeking “all” documents

26    by producing the responsive, non-privileged documents within their possession, custody, and con-

27    trol that can be located after a reasonable search conducted in good faith.

28
                                                                  6
      PLAINTIFFS’ R&OS TO FOURTH SET OF REQUESTS FOR PRODUCTION
      CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH               Document 373-9              Filed 09/03/24   Page 8 of 28



1              2.       Plaintiffs object to the definitions of “Communication(s)” and “Documents(s),” and

2     to any Request incorporating those definitions, insofar as they are ambiguous, overly broad, and

3     unduly burdensome and to the extent they seek to impose obligations on Plaintiffs beyond, or

4     inconsistent with, the Applicable Rules, and to the extent they seek communications or documents

5     that are not relevant to any claims or defenses in this Action or proportionate to the needs of the

6     case.

7              3.       Plaintiffs object to the definition of “Concerning” insofar as it is ambiguous, overly

8     broad, and unduly burdensome and to the extent it purports to expand the definition of concerning

9     beyond the general understanding of that term, including because it includes “relating to.” Plain-

10    tiffs will treat “Concerning” as meaning “regarding, describing, or reflecting.”

11             4.       Plaintiffs object to the definition of “Relate(d) to,” “refer to,” “refer or relate to”

12    and “reflecting,” and to any Request incorporating that definition, insofar as it is ambiguous, overly

13    broad, and unduly burdensome and to the extent it purports to expand the definition beyond the

14    general understanding of that term. Plaintiffs will treat “Relate(d) to,” “refer to,” “refer or relate

15    to” and “reflecting” as meaning “regarding, describing, or reflecting.”

16             5.       Plaintiffs object to the definitions of “Meta,” “You,” “Your,” and “Plaintiffs,” and

17    to any Request incorporating those definitions, on the grounds that they are unduly broad, vague,

18    ambiguous, overly burdensome, encompass persons or entities not relevant to this Action, refer to

19    unknown persons or entities, and not proportional to the needs of the case.

20             6.       Plaintiffs object to the definition of “Tails Exploit,” and to any Request incorporat-

21    ing that definition, on the grounds that it is unduly broad, vague, ambiguous, overly burdensome,

22    and not proportional to the needs of the case, and to the extent it purports to expand the definition

23    beyond the general understanding of that term, or mischaracterizes the nature of the Tails Exploit

24    via the misuse of terminology, including, without limitation, “flaw.”

25             7.       Plaintiffs object to the definition of “Technology,” and to any Request incorporat-

26    ing that definition, on the grounds that it is unduly broad, vague, ambiguous, overly burdensome,

27    and not proportionate to the needs of the case, and to the extent it encompasses any “computer

28
                                                                  7
      PLAINTIFFS’ R&OS TO FOURTH SET OF REQUESTS FOR PRODUCTION
      CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH               Document 373-9              Filed 09/03/24   Page 9 of 28



1     code, source code, computer program(s), software, malware, binaries, executables, physical or vir-

2     tual servers, Internet Protocol addresses of those servers, web logs, server logs, activity logs, cap-

3     tured network traffic, computer hardware or software, communication infrastructure and proto-

4     cols” not relevant to this Action.

5                                  SPECIFIC OBJECTIONS AND RESPONSES

6     REQUEST FOR PRODUCTION NO. 232:

7              All Documents or other source data of any kind used to prepare the Excel file produced as WA-

8     NSO-00017582.

9     RESPONSE TO REQUEST FOR PRODUCTION FOR PRODUCTION NO. 232:

10             Plaintiffs incorporate the foregoing General Objections, Objections to Definitions, and Ob-

11    jections to Instructions as if fully set forth herein. Plaintiffs object to the Request as overbroad,

12    unduly burdensome, ambiguous, and seeking information that is not relevant to any claims or de-

13    fenses in this Action or proportionate to the needs of the case, including to the extent that it seeks

14    discovery relating to the identities of victims of NSO’s May 2019 attacks. The Court held that

15    “civil society” related allegations “are not relevant to plaintiffs’ case-in-chief,” was “unpersuaded

16    that the ‘civil society’-related allegations are directly relevant to NSO’s affirmative defense,” and

17    held that NSO must first provide “evidence showing alleged criminal/terrorist activity by the ‘civil

18    society or ‘VIP’ individuals” in order for the Court to potentially order discovery limited to “how

19    Citizen Lab conducted its analysis or came to its conclusions.” Dkt. No. 305 at 4-7. Furthermore,

20    the Court held that, should NSO choose to rely on more generalized evidence that its software was

21    licensed for law enforcement purposes, the “already-produced evidence from plaintiffs regarding

22    Citizen Lab is more than sufficient for the parties to present their arguments on NSO’s affirmative

23    defense.” Id. at 6. Plaintiffs further object to this Request to the extent that it seeks the production

24    of materials covered by non-disclosure and/or confidentiality agreements with third parties and/or

25    that would violate the privacy interests of others. Plaintiffs further object to this Request to the

26    extent that it purports to require the production of documents or information protected by the at-

27

28
                                                                  8
      PLAINTIFFS’ R&OS TO FOURTH SET OF REQUESTS FOR PRODUCTION
      CASE NO. 4:19-CV-07123-PJH
    Case 4:19-cv-07123-PJH               Document 373-9               Filed 09/03/24   Page 10 of 28



1     torney-client privilege, the attorney work product doctrine, or other applicable privilege, immun-

2     ity, duty of confidentiality, or exemption from discovery. Plaintiffs further object to this Request

3     as duplicative of Defendants’ earlier Requests.

4              Subject to and without waiver of these objections, Plaintiffs will not produce documents in

5     response to the Request.

6     REQUEST FOR PRODUCTION NO. 233:

7              All Documents and Communications supporting your allegations in paragraph 11 of the

8     Complaint that Defendants accessed or used “WhatsApp computers…located in California.”

9     RESPONSE TO REQUEST FOR PRODUCTION NO. 233:

10             Plaintiffs incorporate the foregoing General Objections, Objections to Definitions, and Ob-

11    jections to Instructions as if fully set forth herein. Plaintiffs object to this Request to the extent

12    that it seeks the production of materials covered by non-disclosure and/or confidentiality agree-

13    ments with third parties and/or that would violate the privacy interests of others. Plaintiffs further

14    object to this Request to the extent that it purports to require the production of documents or in-

15    formation protected by the attorney-client privilege, the attorney work product doctrine, or other

16    applicable privilege, immunity, duty of confidentiality, or exemption from discovery. Plaintiffs

17    further object to this Request to the extent it seeks expert discovery prior to the deadline for expert

18    disclosures. Plaintiffs further object to this Request to the extent it seeks information based on the

19    conduct of Defendants, who have refused to meaningfully participate in discovery. Plaintiffs fur-

20    ther object to this Request as duplicative of Defendants’ earlier Requests.

21             Subject to and without waiver of these objections, Plaintiffs have already conducted a rea-

22    sonable search pursuant to the Search Parameters and have already produced documents respon-

23    sive to the Request. Plaintiffs do not intend to conduct further searches for documents beyond

24    what Plaintiffs have produced in response to this Request. Plaintiffs reserve the right to amend

25    the foregoing responses.

26

27

28
                                                                  9
      PLAINTIFFS’ R&OS TO FOURTH SET OF REQUESTS FOR PRODUCTION
      CASE NO. 4:19-CV-07123-PJH
    Case 4:19-cv-07123-PJH               Document 373-9                Filed 09/03/24   Page 11 of 28



1     REQUEST FOR PRODUCTION NO. 234:

2              All Documents and Communications supporting your allegations in paragraph 60 of the

3     Complaint that “Defendants knowingly…used and caused to be used WhatsApp Signaling Servers

4     and Relay Servers…located in California” in connection with alleged violations of California Pe-

5     nal Code § 502(c).

6     RESPONSE TO REQUEST FOR PRODUCTION NO. 234:

7              Plaintiffs incorporate the foregoing General Objections, Objections to Definitions, and Ob-

8     jections to Instructions as if fully set forth herein. Plaintiffs object to this Request to the extent

9     that it seeks the production of materials covered by non-disclosure and/or confidentiality agree-

10    ments with third parties and/or that would violate the privacy interests of others. Plaintiffs further

11    object to this Request to the extent that it purports to require the production of documents or in-

12    formation protected by the attorney-client privilege, the attorney work product doctrine, or other

13    applicable privilege, immunity, duty of confidentiality, or exemption from discovery. Plaintiffs

14    further object to this Request to the extent it seeks expert discovery prior to the deadline for expert

15    disclosures. Plaintiffs further object to this Request to the extent it seeks information based on the

16    conduct of Defendants, who have refused to meaningfully participate in discovery. Plaintiffs fur-

17    ther object to this Request as duplicative of Defendants’ earlier Requests.

18             Subject to and without waiver of these objections, Plaintiffs have already conducted a rea-

19    sonable search pursuant to the Search Parameters and have already produced documents respon-

20    sive to the Request. Plaintiffs do not intend to conduct further searches for documents beyond

21    what Plaintiffs have produced in response to this Request. Plaintiffs reserve the right to amend

22    the foregoing responses.

23    REQUEST FOR PRODUCTION NO. 235:

24             All Documents and Communications you will use to support your allegations in paragraph

25    30 of the Complaint that, “Between January 2018 and May 2019, Defendants created and caused

26

27

28
                                                                  10
      PLAINTIFFS’ R&OS TO FOURTH SET OF REQUESTS FOR PRODUCTION
      CASE NO. 4:19-CV-07123-PJH
    Case 4:19-cv-07123-PJH               Document 373-9                Filed 09/03/24   Page 12 of 28



1     to be created various WhatsApp accounts and agreed to the WhatsApp Terms” and that “Defend-

2     ants’ employees and agents accepted and agreed to be bound by the Terms on behalf of Defend-

3     ants.”

4     RESPONSE TO REQUEST FOR PRODUCTION NO. 235:

5              Plaintiffs incorporate the foregoing General Objections, Objections to Definitions, and Ob-

6     jections to Instructions as if fully set forth herein. Plaintiffs object to this Request to the extent

7     that it seeks the production of materials covered by non-disclosure and/or confidentiality agree-

8     ments with third parties and/or that would violate the privacy interests of others. Plaintiffs further

9     object to this Request to the extent that it purports to require the production of documents or in-

10    formation protected by the attorney-client privilege, the attorney work product doctrine, or other

11    applicable privilege, immunity, duty of confidentiality, or exemption from discovery. Plaintiffs

12    further object to this Request to the extent it seeks expert discovery prior to the deadline for expert

13    disclosures. Plaintiffs further object to this Request to the extent it seeks information based on the

14    conduct of Defendants, who have refused to meaningfully participate in discovery. Plaintiffs fur-

15    ther object to this Request as duplicative of Defendants’ earlier Requests.

16             Subject to and without waiver of these objections, Plaintiffs will produce any non-privi-

17    leged documents and communications responsive to this Request that Plaintiffs may use to support

18    their allegations in paragraph 30 of the Complaint. Plaintiffs reserve the right to amend the fore-

19    going responses.

20    REQUEST FOR PRODUCTION NO. 236:

21             All Documents and Communications you will use to support your contention that Defend-

22    ants exceeded authorized access to WhatsApp’s servers.

23    RESPONSE TO REQUEST FOR PRODUCTION NO. 236:

24             Plaintiffs incorporate the foregoing General Objections, Objections to Definitions, and Ob-

25    jections to Instructions as if fully set forth herein. Plaintiffs object to this Request to the extent

26    that it seeks the production of materials covered by non-disclosure and/or confidentiality agree-

27    ments with third parties and/or that would violate the privacy interests of others. Plaintiffs further

28
                                                                  11
      PLAINTIFFS’ R&OS TO FOURTH SET OF REQUESTS FOR PRODUCTION
      CASE NO. 4:19-CV-07123-PJH
    Case 4:19-cv-07123-PJH               Document 373-9                Filed 09/03/24   Page 13 of 28



1     object to this Request to the extent it mischaracterizes Plaintiffs’ allegations or any relevant legal

2     standard, and none of Plaintiffs’ responses to this Request shall be deemed an agreement with the

3     mischaracterization in the Request. Plaintiffs further object to this Request to the extent that it

4     purports to require the production of documents or information protected by the attorney-client

5     privilege, the attorney work product doctrine, or other applicable privilege, immunity, duty of con-

6     fidentiality, or exemption from discovery. Plaintiffs further object to this Request to the extent it

7     seeks expert discovery prior to the deadline for expert disclosures. Plaintiffs further object to this

8     Request to the extent it seeks information based on the conduct of Defendants, who have refused

9     to meaningfully participate in discovery. Plaintiffs further object to this Request as duplicative of

10    Defendants’ earlier Requests.

11             Subject to and without waiver of these objections, Plaintiffs have already conducted a rea-

12    sonable search pursuant to the Search Parameters and have already produced documents respon-

13    sive to the Request. Plaintiffs do not intend to conduct further searches for documents beyond

14    what Plaintiffs have produced in response to this Request. Plaintiffs reserve the right to amend

15    the foregoing responses.

16    REQUEST FOR PRODUCTION NO. 237:

17             Documents sufficient to identify the limitations on access to WhatsApp servers you con-

18    tend NSO circumvented.

19    RESPONSE TO REQUEST FOR PRODUCTION NO. 237:

20             Plaintiffs incorporate the foregoing General Objections, Objections to Definitions, and Ob-

21    jections to Instructions as if fully set forth herein. Plaintiffs object to this Request to the extent

22    that it seeks the production of materials covered by non-disclosure and/or confidentiality agree-

23    ments with third parties and/or that would violate the privacy interests of others. Plaintiffs further

24    object to this Request to the extent it mischaracterizes Plaintiffs’ allegations or any relevant legal

25    standard, and none of Plaintiffs’ responses to this Request shall be deemed an agreement with the

26    mischaracterization in the Request. Plaintiffs further object to this Request to the extent that it

27    purports to require the production of documents or information protected by the attorney-client

28
                                                                  12
      PLAINTIFFS’ R&OS TO FOURTH SET OF REQUESTS FOR PRODUCTION
      CASE NO. 4:19-CV-07123-PJH
    Case 4:19-cv-07123-PJH               Document 373-9                Filed 09/03/24   Page 14 of 28



1     privilege, the attorney work product doctrine, or other applicable privilege, immunity, duty of con-

2     fidentiality, or exemption from discovery. Plaintiffs further object to this Request to the extent it

3     seeks expert discovery prior to the deadline for expert disclosures. Plaintiffs further object to this

4     Request to the extent it seeks information based on the conduct of Defendants, who have refused

5     to meaningfully participate in discovery. Plaintiffs further object to this Request as duplicative of

6     Defendants’ earlier Requests.

7              Subject to and without waiver of these objections, Plaintiffs have already conducted a rea-

8     sonable search pursuant to the Search Parameters and have already produced documents respon-

9     sive to the Request. Plaintiffs do not intend to conduct further searches for documents beyond

10    what Plaintiffs have produced in response to this Request. Plaintiffs reserve the right to amend

11    the foregoing responses.

12    REQUEST FOR PRODUCTION NO. 238:

13             All Documents and Communications related to any alleged circumvention by NSO of lim-

14    itations on access to WhatsApp’s servers.

15    RESPONSE TO REQUEST FOR PRODUCTION NO. 238:

16             Plaintiffs incorporate the foregoing General Objections, Objections to Definitions, and Ob-

17    jections to Instructions as if fully set forth herein. Plaintiffs object to this Request to the extent

18    that it seeks the production of materials covered by non-disclosure and/or confidentiality agree-

19    ments with third parties and/or that would violate the privacy interests of others. Plaintiffs further

20    object to this Request to the extent it mischaracterizes Plaintiffs’ allegations or any relevant legal

21    standard, and none of Plaintiffs’ responses to this Request shall be deemed an agreement with the

22    mischaracterization in the Request. Plaintiffs further object to this Request to the extent that it

23    purports to require the production of documents or information protected by the attorney-client

24    privilege, the attorney work product doctrine, or other applicable privilege, immunity, duty of con-

25    fidentiality, or exemption from discovery. Plaintiffs further object to this Request to the extent it

26    seeks expert discovery prior to the deadline for expert disclosures. Plaintiffs further object to this

27    Request to the extent it seeks information based on the conduct of Defendants, who have refused

28
                                                                  13
      PLAINTIFFS’ R&OS TO FOURTH SET OF REQUESTS FOR PRODUCTION
      CASE NO. 4:19-CV-07123-PJH
    Case 4:19-cv-07123-PJH               Document 373-9                Filed 09/03/24   Page 15 of 28



1     to meaningfully participate in discovery. Plaintiffs further object to this Request as duplicative of

2     Defendants’ earlier Requests.

3              Subject to and without waiver of these objections, Plaintiffs have already conducted a rea-

4     sonable search pursuant to the Search Parameters and have already produced documents respon-

5     sive to the Request. Plaintiffs do not intend to conduct further searches for documents beyond

6     what Plaintiffs have produced in response to this Request. Plaintiffs reserve the right to amend

7     the foregoing responses.

8     REQUEST FOR PRODUCTION NO. 239:

9              Documents sufficient to show the areas of WhatsApp servers that you contend NSO ac-

10    cessed that are not generally accessible to WhatsApp users.

11    RESPONSE TO REQUEST FOR PRODUCTION NO. 239:

12             Plaintiffs incorporate the foregoing General Objections, Objections to Definitions, and Ob-

13    jections to Instructions as if fully set forth herein. Plaintiffs object to this Request to the extent

14    that it seeks the production of materials covered by non-disclosure and/or confidentiality agree-

15    ments with third parties and/or that would violate the privacy interests of others. Plaintiffs further

16    object to this Request because the phrase “the areas of WhatsApp’s servers that . . . are not gen-

17    erally accessible” is overbroad, vague, and ambiguous. Plaintiffs further object to this Request to

18    the extent it mischaracterizes Plaintiffs’ allegations or any relevant legal standard, and none of

19    Plaintiffs’ responses to this Request shall be deemed an agreement with the mischaracterization in

20    the Request. Plaintiffs further object to this Request to the extent that it purports to require the

21    production of documents or information protected by the attorney-client privilege, the attorney

22    work product doctrine, or other applicable privilege, immunity, duty of confidentiality, or exemp-

23    tion from discovery. Plaintiffs further object to this Request to the extent it seeks expert discovery

24    prior to the deadline for expert disclosures. Plaintiffs further object to this Request to the extent it

25    seeks information based on the conduct of Defendants, who have refused to meaningfully partici-

26    pate in discovery. Plaintiffs further object to this Request as duplicative of Defendants’ earlier

27    Requests.

28
                                                                  14
      PLAINTIFFS’ R&OS TO FOURTH SET OF REQUESTS FOR PRODUCTION
      CASE NO. 4:19-CV-07123-PJH
    Case 4:19-cv-07123-PJH               Document 373-9                Filed 09/03/24   Page 16 of 28



1              Subject to and without waiver of these objections, Plaintiffs have already conducted a rea-

2     sonable search pursuant to the Search Parameters and have already produced documents respon-

3     sive to the Request. Plaintiffs do not intend to conduct further searches for documents beyond

4     what Plaintiffs have produced in response to this Request. Plaintiffs reserve the right to amend

5     the foregoing responses.

6     REQUEST FOR PRODUCTION NO. 240:

7              All Documents and Communications related to NSO’s alleged access to any areas of

8     WhatsApp’s servers that are not generally accessible to WhatsApp’s users.

9     RESPONSE TO REQUEST FOR PRODUCTION NO. 240:

10             Plaintiffs incorporate the foregoing General Objections, Objections to Definitions, and Ob-

11    jections to Instructions as if fully set forth herein. Plaintiffs object to this Request to the extent

12    that it seeks the production of materials covered by non-disclosure and/or confidentiality agree-

13    ments with third parties and/or that would violate the privacy interests of others. Plaintiffs further

14    object to this Request because the phrase “any areas of WhatsApp’s servers that are not generally

15    accessible” is overbroad, vague, and ambiguous. Plaintiffs further object to this Request to the

16    extent it mischaracterizes Plaintiffs’ allegations or any relevant legal standard, and none of Plain-

17    tiffs’ responses to this Request shall be deemed an agreement with the mischaracterization in the

18    Request. Plaintiffs further object to this Request to the extent that it purports to require the pro-

19    duction of documents or information protected by the attorney-client privilege, the attorney work

20    product doctrine, or other applicable privilege, immunity, duty of confidentiality, or exemption

21    from discovery. Plaintiffs further object to this Request to the extent it seeks expert discovery

22    prior to the deadline for expert disclosures. Plaintiffs further object to this Request to the extent it

23    seeks information based on the conduct of Defendants, who have refused to meaningfully partici-

24    pate in discovery. Plaintiffs further object to this Request as duplicative of Defendants’ earlier

25    Requests.

26

27

28
                                                                  15
      PLAINTIFFS’ R&OS TO FOURTH SET OF REQUESTS FOR PRODUCTION
      CASE NO. 4:19-CV-07123-PJH
    Case 4:19-cv-07123-PJH               Document 373-9                Filed 09/03/24   Page 17 of 28



1              Subject to and without waiver of these objections, Plaintiffs have already conducted a rea-

2     sonable search pursuant to the Search Parameters and have already produced documents respon-

3     sive to the Request. Plaintiffs do not intend to conduct further searches for documents beyond

4     what Plaintiffs have produced in response to this Request. Plaintiffs reserve the right to amend

5     the foregoing responses.

6     REQUEST FOR PRODUCTION NO. 241:

7              Documents sufficient to describe the design and intended operation of the functionality of

8     the Facebook Research App.

9     RESPONSE TO REQUEST FOR PRODUCTION NO. 241:

10             Plaintiffs incorporate the foregoing General Objections, Objections to Definitions, and Ob-

11    jections to Instructions as if fully set forth herein. Plaintiffs object to the Request as overbroad,

12    unduly burdensome, ambiguous, and seeking information that is not relevant to any claims or de-

13    fenses in this Action or proportionate to the needs of the case. Plaintiffs further object to this

14    Request because the phrase “the design and intended operation of the functionality of the Facebook

15    Research App” is overbroad, vague, and ambiguous.

16             On the basis of the foregoing objections, Plaintiffs will not produce documents in response

17    to the Request.

18    REQUEST FOR PRODUCTION NO. 242:

19             Documents and Communications sufficient to show Plaintiffs’ development, testing, trou-

20    bleshooting and maintenance of the Facebook Research App.

21    RESPONSE TO REQUEST FOR PRODUCTION NO. 242:

22             Plaintiffs incorporate the foregoing General Objections, Objections to Definitions, and Ob-

23    jections to Instructions as if fully set forth herein. Plaintiffs object to the Request as overbroad,

24    unduly burdensome, ambiguous, and seeking information that is not relevant to any claims or de-

25    fenses in this Action or proportionate to the needs of the case. Plaintiffs further object to this

26    Request because the phrase “development, testing, troubleshooting and maintenance of the Face-

27    book Research App” is overbroad, vague, and ambiguous.

28
                                                                  16
      PLAINTIFFS’ R&OS TO FOURTH SET OF REQUESTS FOR PRODUCTION
      CASE NO. 4:19-CV-07123-PJH
    Case 4:19-cv-07123-PJH               Document 373-9                Filed 09/03/24   Page 18 of 28



1              On the basis of the foregoing objections, Plaintiffs will not produce documents in response

2     to the Request.

3     REQUEST FOR PRODUCTION NO. 243:

4              Documents and Communications sufficient to show the processes, methods, and Technol-

5     ogy used by the Facebook Research App to monitor and exfiltrate data from Devices on which the

6     Facebook Research App was installed.

7     RESPONSE TO REQUEST FOR PRODUCTION NO. 243:

8              Plaintiffs incorporate the foregoing General Objections, Objections to Definitions, and Ob-

9     jections to Instructions as if fully set forth herein. Plaintiffs object to the Request as overbroad,

10    unduly burdensome, ambiguous, and seeking information that is not relevant to any claims or de-

11    fenses in this Action or proportionate to the needs of the case. Plaintiffs further object to this

12    Request because the phrase “the processes, methods, and Technology used . . . to monitor and

13    exfiltrate data from Devices” is overbroad, vague, and ambiguous.

14             On the basis of the foregoing objections, Plaintiffs will not produce documents in response

15    to the Request.

16    REQUEST FOR PRODUCTION NO. 244:

17             Documents and Communications sufficient to show the Technology used to transmit any

18    data or information from any Device on which Facebook Research App was installed.

19    RESPONSE TO REQUEST FOR PRODUCTION NO. 244:

20             Plaintiffs incorporate the foregoing General Objections, Objections to Definitions, and Ob-

21    jections to Instructions as if fully set forth herein. Plaintiffs object to the Request as overbroad,

22    unduly burdensome, ambiguous, and seeking information that is not relevant to any claims or de-

23    fenses in this Action or proportionate to the needs of the case. Plaintiffs further object to this

24    Request because the phrase “the Technology used to transmit any data or information from any

25    Device” is overbroad, vague, and ambiguous.

26             On the basis of the foregoing objections, Plaintiffs will not produce documents in response

27    to the Request.

28
                                                                  17
      PLAINTIFFS’ R&OS TO FOURTH SET OF REQUESTS FOR PRODUCTION
      CASE NO. 4:19-CV-07123-PJH
    Case 4:19-cv-07123-PJH               Document 373-9                Filed 09/03/24   Page 19 of 28



1     REQUEST FOR PRODUCTION NO. 245:

2              Documents and Communications sufficient to describe the data and information Plaintiffs

3     obtained from Devices through the Facebook Research App.

4     RESPONSE TO REQUEST FOR PRODUCTION NO. 245:

5              Plaintiffs incorporate the foregoing General Objections, Objections to Definitions, and Ob-

6     jections to Instructions as if fully set forth herein. Plaintiffs object to the Request as overbroad,

7     unduly burdensome, ambiguous, and seeking information that is not relevant to any claims or de-

8     fenses in this Action or proportionate to the needs of the case. Plaintiffs further object to this

9     Request because the phrase “the data and information Plaintiffs obtained from Devices” is over-

10    broad, vague, and ambiguous.

11             On the basis of the foregoing objections, Plaintiffs will not produce documents in response

12    to the Request.

13    REQUEST FOR PRODUCTION NO. 246:

14             All Documents and Communications produced to the plaintiffs in the lawsuit styled Klein

15    v. Meta Platforms, Inc., Case No. 3:20-cv-08570-JD (N.D. Cal.) that refer or relate to the Facebook

16    Research App or Project Ghostbusters.

17    RESPONSE TO REQUEST FOR PRODUCTION NO. 246:

18             Plaintiffs incorporate the foregoing General Objections, Objections to Definitions, and Ob-

19    jections to Instructions as if fully set forth herein. Plaintiffs object to the Request as overbroad,

20    unduly burdensome, ambiguous, and seeking information that is not relevant to any claims or de-

21    fenses in this Action or proportionate to the needs of the case. Plaintiffs further object to this

22    Request because the phrase “refer or relate to the Facebook Research App or Project Ghostbusters”

23    is overbroad, vague, and ambiguous. Plaintiffs further object to the Request because the request

24    of “[a]ll” Documents and Communications is unduly burdensome and unreasonable in light of the

25    vagueness, ambiguity, and overbreadth of the rest of the Request.

26             On the basis of the foregoing objections, Plaintiffs will not produce documents in response

27    to the Request.

28
                                                                  18
      PLAINTIFFS’ R&OS TO FOURTH SET OF REQUESTS FOR PRODUCTION
      CASE NO. 4:19-CV-07123-PJH
    Case 4:19-cv-07123-PJH               Document 373-9                Filed 09/03/24   Page 20 of 28



1     REQUEST FOR PRODUCTION NO. 247:

2              All Communications between Onavo on the one hand and NSO Group Technologies Ltd.

3     or any of its affiliates on the other hand.

4     RESPONSE TO REQUEST FOR PRODUCTION NO. 247:

5              Plaintiffs incorporate the foregoing General Objections, Objections to Definitions, and Ob-

6     jections to Instructions as if fully set forth herein. Plaintiffs object to the Request as overbroad,

7     unduly burdensome, ambiguous, and seeking information that is not relevant to any claims or de-

8     fenses in this Action or proportionate to the needs of the case. Plaintiffs further object to the

9     Request because the request of “[a]ll” Communications is unduly burdensome and unreasonable

10    in light of the vagueness, ambiguity, and overbreadth of the rest of the Request. Plaintiffs further

11    object to this Request to the extent that it seeks documents and communications not within Plain-

12    tiffs’ possession, custody, or control.

13             On the basis of the foregoing objections, Plaintiffs will not produce documents in response

14    to the Request.

15    REQUEST FOR PRODUCTION NO. 248:

16             All Documents and Communications that refer or relate to the possibility of Onavo entering

17    into a business transaction, directly or indirectly, with NSO Group Technologies Ltd. or any of its

18    affiliates concerning Pegasus or any functionality contained within Pegasus.

19    RESPONSE TO REQUEST FOR PRODUCTION NO. 248:

20             Plaintiffs incorporate the foregoing General Objections, Objections to Definitions, and Ob-

21    jections to Instructions as if fully set forth herein. Plaintiffs object to the Request as overbroad,

22    unduly burdensome, ambiguous, and seeking information that is not relevant to any claims or de-

23    fenses in this Action or proportionate to the needs of the case. Plaintiffs further object to this

24    Request because the phrase “refer or relate to the possibility of . . . entering into a business trans-

25    action, directly or indirectly” is overbroad, vague, and ambiguous. Plaintiffs further object to the

26    Request because the request of “[a]ll” Documents and Communications is unduly burdensome and

27    unreasonable in light of the vagueness, ambiguity, and overbreadth of the rest of the Request.

28
                                                                  19
      PLAINTIFFS’ R&OS TO FOURTH SET OF REQUESTS FOR PRODUCTION
      CASE NO. 4:19-CV-07123-PJH
    Case 4:19-cv-07123-PJH               Document 373-9                Filed 09/03/24   Page 21 of 28



1              On the basis of the foregoing objections, Plaintiffs will not produce documents in response

2     to the Request.

3     REQUEST FOR PRODUCTION NO. 249:

4              All Documents and Communications that refer or relate to the possibility of Onavo entering

5     into a business transaction, directly or indirectly, with NSO Group Technologies Ltd. or any of its

6     affiliates.

7     RESPONSE TO REQUEST FOR PRODUCTION NO. 249:

8              Plaintiffs incorporate the foregoing General Objections, Objections to Definitions, and Ob-

9     jections to Instructions as if fully set forth herein. Plaintiffs object to the Request as overbroad,

10    unduly burdensome, ambiguous, and seeking information that is not relevant to any claims or de-

11    fenses in this Action or proportionate to the needs of the case. Plaintiffs further object to this

12    Request because the phrase “refer or relate to the possibility of . . . entering into a business trans-

13    action, directly or indirectly” is overbroad, vague, and ambiguous. Plaintiffs further object to the

14    Request because the request of “[a]ll” Documents and Communications is unduly burdensome and

15    unreasonable in light of the vagueness, ambiguity, and overbreadth of the rest of the Request.

16             On the basis of the foregoing objections, Plaintiffs will not produce documents in response

17    to the Request.

18    REQUEST FOR PRODUCTION NO. 250:

19             All Documents and Communications relating to Your investigation of Buster Hernan-

20    dez/Brian Kil.

21    RESPONSE TO REQUEST FOR PRODUCTION NO. 250:

22             Plaintiffs incorporate the foregoing General Objections, Objections to Definitions, and Ob-

23    jections to Instructions as if fully set forth herein. Plaintiffs object to the Request as overbroad,

24    unduly burdensome, ambiguous, and seeking information that is not relevant to any claims or de-

25    fenses in this Action or proportionate to the needs of the case. Plaintiffs further object to this

26    Request because the phrase “relating to Your investigation” is overbroad, vague, and ambiguous.

27

28
                                                                  20
      PLAINTIFFS’ R&OS TO FOURTH SET OF REQUESTS FOR PRODUCTION
      CASE NO. 4:19-CV-07123-PJH
    Case 4:19-cv-07123-PJH               Document 373-9                Filed 09/03/24   Page 22 of 28



1     Plaintiffs further object to the Request because the request of “[a]ll” Documents and Communica-

2     tions is unduly burdensome and unreasonable in light of the vagueness, ambiguity, and overbreadth

3     of the rest of the Request.

4              On the basis of the foregoing objections, Plaintiffs will not produce documents in response

5     to the Request.

6     REQUEST FOR PRODUCTION NO. 251:

7              All Documents and Communications relating to Your decision to assist law enforcement

8     in efforts to uncover the identity of Buster Hernandez/Brian Kil or otherwise assist efforts to arrest

9     and/or convict Buster Hernandez/Brian Kil.

10    RESPONSE TO REQUEST FOR PRODUCTION NO. 251:

11             Plaintiffs incorporate the foregoing General Objections, Objections to Definitions, and Ob-

12    jections to Instructions as if fully set forth herein. Plaintiffs object to the Request as overbroad,

13    unduly burdensome, ambiguous, and seeking information that is not relevant to any claims or de-

14    fenses in this Action or proportionate to the needs of the case. Plaintiffs further object to this

15    Request because the phrase “relating to Your decision to assist law enforcement . . . or otherwise

16    assist efforts to arrest and/or convict Buster Hernandez/Brian Kil” is overbroad, vague, and am-

17    biguous. Plaintiffs further object to the Request because the request of “[a]ll” Documents and

18    Communications is unduly burdensome and unreasonable in light of the vagueness, ambiguity,

19    and overbreadth of the rest of the Request.

20             On the basis of the foregoing objections, Plaintiffs will not produce documents in response

21    to the Request.

22        REQUEST FOR PRODUCTION NO. 252:

23             All Documents and Communications exchanged with the third-party You engaged to de-

24    velop the Tails Exploit relating to the subject matter of that engagement.

25    RESPONSE TO REQUEST FOR PRODUCTION NO. 252:

26             Plaintiffs incorporate the foregoing General Objections, Objections to Definitions, and Ob-

27    jections to Instructions as if fully set forth herein. Plaintiffs object to the Request as overbroad,

28
                                                                  21
      PLAINTIFFS’ R&OS TO FOURTH SET OF REQUESTS FOR PRODUCTION
      CASE NO. 4:19-CV-07123-PJH
    Case 4:19-cv-07123-PJH               Document 373-9                Filed 09/03/24   Page 23 of 28



1     unduly burdensome, ambiguous, and seeking information that is not relevant to any claims or de-

2     fenses in this Action or proportionate to the needs of the case. Plaintiffs further object to this

3     Request to the extent that it seeks the production of materials covered by non-disclosure and/or

4     confidentiality agreements with third parties and/or that would violate the privacy interests of oth-

5     ers. Plaintiffs further object to this Request to the extent that it purports to require the production

6     of documents or information protected by the attorney-client privilege, the attorney work product

7     doctrine, or other applicable privilege, immunity, duty of confidentiality, or exemption from dis-

8     covery. Plaintiffs further object to this Request because the phrase “relating to the subject matter

9     of that engagement” is overbroad, vague, and ambiguous. Plaintiffs further object to the Request

10    because the request of “[a]ll” Documents and Communications is unduly burdensome and unrea-

11    sonable in light of the vagueness, ambiguity, and overbreadth of the rest of the Request.

12             On the basis of the foregoing objections, Plaintiffs will not produce documents in response

13    to the Request.

14    REQUEST FOR PRODUCTION NO. 253:

15             Documents sufficient to describe the design and intended operation of the functionality of

16    the Tails Exploit.

17    RESPONSE TO REQUEST FOR PRODUCTION NO. 253:

18             Plaintiffs incorporate the foregoing General Objections, Objections to Definitions, and Ob-

19    jections to Instructions as if fully set forth herein. Plaintiffs object to the Request as overbroad,

20    unduly burdensome, ambiguous, and seeking information that is not relevant to any claims or de-

21    fenses in this Action or proportionate to the needs of the case. Plaintiffs further object to this

22    Request because the phrase “the design and intended operation of the functionality of the Tails

23    Exploit” is overbroad, vague, and ambiguous.

24             On the basis of the foregoing objections, Plaintiffs will not produce documents in response

25    to the Request.

26

27

28
                                                                  22
      PLAINTIFFS’ R&OS TO FOURTH SET OF REQUESTS FOR PRODUCTION
      CASE NO. 4:19-CV-07123-PJH
    Case 4:19-cv-07123-PJH               Document 373-9                Filed 09/03/24   Page 24 of 28



1     REQUEST FOR PRODUCTION NO. 254:

2              Documents and Communications sufficient to show the processes, methods, and Technol-

3     ogy used by the Tails Exploit to monitor and exfiltrate data from Devices on which that Tails

4     Exploit was installed.

5     RESPONSE TO REQUEST FOR PRODUCTION NO. 254:

6              Plaintiffs incorporate the foregoing General Objections, Objections to Definitions, and Ob-

7     jections to Instructions as if fully set forth herein. Plaintiffs object to the Request as overbroad,

8     unduly burdensome, ambiguous, and seeking information that is not relevant to any claims or de-

9     fenses in this Action or proportionate to the needs of the case. Plaintiffs further object to this

10    Request because the phrase “the processes, methods, and Technology used . . . to monitor and

11    exfiltrate data from Devices” is overbroad, vague, and ambiguous.

12             On the basis of the foregoing objections, Plaintiffs will not produce documents in response

13    to the Request.

14    REQUEST FOR PRODUCTION NO. 255:

15             Documents and Communications sufficient to show the Technology used to transmit any

16    data or information to or from any Device on which the Tails Exploit was installed.

17    RESPONSE TO REQUEST FOR PRODUCTION NO. 255:

18             Plaintiffs incorporate the foregoing General Objections, Objections to Definitions, and Ob-

19    jections to Instructions as if fully set forth herein. Plaintiffs object to the Request as overbroad,

20    unduly burdensome, ambiguous, and seeking information that is not relevant to any claims or de-

21    fenses in this Action or proportionate to the needs of the case. Plaintiffs further object to this

22    Request because the phrase “the Technology used to transmit any data or information to or from

23    any Device” is overbroad, vague, and ambiguous.

24             On the basis of the foregoing objections, Plaintiffs will not produce documents in response

25    to the Request.

26

27

28
                                                                  23
      PLAINTIFFS’ R&OS TO FOURTH SET OF REQUESTS FOR PRODUCTION
      CASE NO. 4:19-CV-07123-PJH
    Case 4:19-cv-07123-PJH               Document 373-9                Filed 09/03/24   Page 25 of 28



1     REQUEST FOR PRODUCTION NO. 256:

2              Documents and Communications sufficient to describe the data and information obtained

3     from Devices on which the Tails Exploit was installed.

4     RESPONSE TO REQUEST FOR PRODUCTION NO. 256:

5              Plaintiffs incorporate the foregoing General Objections, Objections to Definitions, and Ob-

6     jections to Instructions as if fully set forth herein. Plaintiffs object to the Request as overbroad,

7     unduly burdensome, ambiguous, and seeking information that is not relevant to any claims or de-

8     fenses in this Action or proportionate to the needs of the case. Plaintiffs further object to this

9     Request because the phrase “the data and information obtained from Devices on which the Tails

10    Exploit was installed” is overbroad, vague, and ambiguous.

11             On the basis of the foregoing objections, Plaintiffs will not produce documents in response

12    to the Request.

13    REQUEST FOR PRODUCTION NO. 257:

14             Documents and Communications sufficient to show how the Tails Exploit was made avail-

15    able to any law enforcement personnel, including, without limitation, in connection with efforts to

16    uncover the identity of Buster Hernandez/Brian Kil or to arrest and/or convict Buster Hernan-

17    dez/Brian Kil.

18    RESPONSE TO REQUEST FOR PRODUCTION NO. 257:

19             Plaintiffs incorporate the foregoing General Objections, Objections to Definitions, and Ob-

20    jections to Instructions as if fully set forth herein. Plaintiffs object to the Request as overbroad,

21    unduly burdensome, ambiguous, and seeking information that is not relevant to any claims or de-

22    fenses in this Action or proportionate to the needs of the case. Plaintiffs further object to this

23    Request because the phrase “how the Tails Exploit was made available to any law enforcement

24    personnel” is overbroad, vague, and ambiguous.

25             On the basis of the foregoing objections, Plaintiffs will not produce documents in response

26    to the Request.

27

28
                                                                  24
      PLAINTIFFS’ R&OS TO FOURTH SET OF REQUESTS FOR PRODUCTION
      CASE NO. 4:19-CV-07123-PJH
    Case 4:19-cv-07123-PJH               Document 373-9                Filed 09/03/24   Page 26 of 28



1     REQUEST FOR PRODUCTION NO. 258:

2              All Documents and Communications exchanged with representatives of the Tails Project

3     relating to the Tails Exploit that was used to uncover the identity of Buster Hernandez/Brian Kil

4     or its development.

5     RESPONSE TO REQUEST FOR PRODUCTION NO. 258:

6              Plaintiffs incorporate the foregoing General Objections, Objections to Definitions, and Ob-

7     jections to Instructions as if fully set forth herein. Plaintiffs object to the Request as overbroad,

8     unduly burdensome, ambiguous, and seeking information that is not relevant to any claims or de-

9     fenses in this Action or proportionate to the needs of the case. Plaintiffs further object to this

10    Request to the extent that it seeks the production of materials covered by non-disclosure and/or

11    confidentiality agreements with third parties and/or that would violate the privacy interests of oth-

12    ers. Plaintiffs further object to this Request to the extent that it purports to require the production

13    of documents or information protected by the attorney-client privilege, the attorney work product

14    doctrine, or other applicable privilege, immunity, duty of confidentiality, or exemption from dis-

15    covery. Plaintiffs further object to this Request because the phrase “relating to” is overbroad,

16    vague, and ambiguous. Plaintiffs further object to the Request because the request of “[a]ll” Doc-

17    uments and Communications is unduly burdensome and unreasonable in light of the vagueness,

18    ambiguity, and overbreadth of the rest of the Request.

19             On the basis of the foregoing objections, Plaintiffs will not produce documents in response

20    to the Request.

21

22

23

24

25

26

27

28
                                                                  25
      PLAINTIFFS’ R&OS TO FOURTH SET OF REQUESTS FOR PRODUCTION
      CASE NO. 4:19-CV-07123-PJH
    Case 4:19-cv-07123-PJH               Document 373-9                Filed 09/03/24   Page 27 of 28



1
       Dated: May 29, 2024
2
                                                             DAVIS POLK & WARDWELL LLP
3

4                                                           By: /s/ Micah G. Block
5
                                                                   Micah G. Block (SBN 270712)
6                                                                  DAVIS POLK & WARDWELL LLP
                                                                   1600 El Camino Real
7                                                                  Menlo Park, California 94025
                                                                   Telephone: (650) 752-2000
8                                                                  Facsimile: (650) 752-2111
9                                                                  Email: micah.block@davispolk.com

10
                                                                   Greg D. Andres
11                                                                 Antonio J. Perez-Marques
                                                                   Craig T. Cagney
12
                                                                   (admitted pro hac vice)
13                                                                 DAVIS POLK & WARDWELL LLP
                                                                   450 Lexington Avenue
14                                                                 New York, New York 10017
                                                                   Telephone: (212) 450-4000
15                                                                 Facsimile: (212) 701-5800
                                                                   Email: greg.andres@davispolk.com
16
                                                                          antonio.perez@davispolk.com
17                                                                        craig.cagney@davispolk.com

18
                                                                   Attorneys for Plaintiffs WhatsApp LLC and
19                                                                 Meta Platforms, Inc.
20

21

22

23

24

25

26

27

28
                                                                  26
      PLAINTIFFS’ R&OS TO FOURTH SET OF REQUESTS FOR PRODUCTION
      CASE NO. 4:19-CV-07123-PJH
    Case 4:19-cv-07123-PJH               Document 373-9                Filed 09/03/24   Page 28 of 28



1                                             CERTIFICATE OF SERVICE

2              I hereby certify that I am a citizen of the United States and employed in the County of

3     New York, New York. I am over the age of 18 years and not a party to the within-entitled ac-

4     tion. My business address is Davis Polk & Wardwell LLP, 450 Lexington Avenue, New York,

5     New York 10017.

6              On May 29, 2024, I served a true and correct copy of the following document(s) on the

7     parties in the action addressed as follows:

8              PLAINTIFFS’ RESPONSES AND OBJECTIONS TO DEFENDANT NSO
               GROUP TECHNOLOGIES’ LIMITED FOURTH SET OF REQUESTS
9              FOR PRODUCTION OF DOCUMENTS
10
      ☐ (BY OVERNIGHT COURIER) by placing the document(s) listed above in a sealed envelope
11
      and affixing a pre-paid air bill, and causing the envelope to be delivered by a FedEx or UPS
12
      agent for delivery.
13
      ☒ (BY ELECTRONIC MAIL) by transmitting via electronic mail document(s) in portable doc-
14
      ument format (PDF) to the email addresses set forth below on this date.
15
       Joseph N. Akrotirianakis
16     Aaron S. Craig
       KING & SPALDING LLP
17     633 West Fifth Street, Suite 1600
       Los Angeles, CA 90071
18     Telephone: (213) 443-4355
       Email: jakro@kslaw.com
19
              acraig@kslaw.com
20
       Attorneys for Defendants NSO Group
21     Technologies Limited and Q Cyber
       Technologies Limited
22
               I declare under penalty of perjury that the above is true and correct.
23
               Executed on May 29, 2024 at New York, New York.
24

25                                                                 /s/ Luca Marzorati
26                                                                 Luca Marzorati

27

28
                                                                  27
      PLAINTIFFS’ R&OS TO FOURTH SET OF REQUESTS FOR PRODUCTION
      CASE NO. 4:19-CV-07123-PJH
